Case 1:17-cv-01027-JTN-ESC ECF No. 28, PageID.491 Filed 09/27/18 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN

ANDREA CONLEY,

       Plaintiff,                               Case No.: 1:17-cv-01027-JTN-ESC
                                                Hon. Judge Janet T. Neff
v.                                              Magistrate Judge Ellen S. Carmody

WEBER & OLCESE, P.L.C., a Michigan
Company,

       Defendant.

                    ORDER DISMISSING PLAINTIFF’S COMPLAINT

       Pursuant to the filed stipulation by and between Plaintiff Andrea Conley and Defendant

Weber & Olcese, P.L.C. (ECF No. 27), this action is hereby dismissed without prejudice.
       This Order resolves all pending claims and closes the case.

       IT IS SO ORDERED.



         September 27, 2018
Dated: _________________________                   /s/ Janet T. Neff
                                                ____________________________________
                                                Hon. Janet T. Neff
                                                United States District Court
                                                Western District of Michigan
